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                                                                  Exhibit A

       This Statement reflects the nature and amount of disclosable economic interests in the Debtors held by members of
the Ad Hoc Group of Custodial Account Holders as disclosed to the Togut Firm in U.S. Dollars based on the market
prices of various cryptocurrency assets (as of July 13, 2022).1

       This Statement is intended solely to satisfy Bankruptcy Rule 2019, to the extent applicable, to the various holdings
of the Ad Hoc Group of Custodial Account Holders, and nothing set forth herein is intended to be or shall be an
admission that any of the Ad Hoc Group of Custodial Account Holders’ interests in property held by the Debtors
constitute Disclosable Economic Interests for purposes of Bankruptcy Rule 2019. The values set forth herein are not
intended to be a limitation on the form of recovery of the Ad Hoc Group of Custodial Account Holders, including,
without limitation, their right to recover any property in kind. Nothing herein is or is intended to be a waiver of any
arguments that any property held by the Debtors is not property of the estate under section 541 of the Bankruptcy Code.




1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Statement.
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                     Name2                                       Custody Wallet3                                       Earn4

               William Saunders                                      $290,985.47                                    $26,637.46

                  David Little                                       $1,850,000                                       $1,200

              Jonandre Dimetros                                        $59,150                                        $48.95

              Stephen Dreikosen                                      $258,901.94                                      $443.14

              Yanxing Ralbovsky                                        $15,500                                        $2,000

               Cheryl Bierbaum                                       $143,955.37                                     $6,783.44

                Elvin R. Turner                                      $155,220.33                                       $0.00

                 Frank Crespo                                        $117,426.79                                       $0.00

                Ashley Mansour                                       $87,150.26                                       $82.94

                Craig Robinson                                       $56,397.89                                       $63.83



2
    The addresses and contact information for all members of the Ad Hoc Group of Custodial Account Holders is provided as c/o Togut, Segal &
    Segal LLP, One Penn Plaza, Suite 3335, New York, NY 10119 and.

3
    As described by the Debtors, “Custody Wallet” refers to that program of the Debtors constituting a virtual wallet where all Eligible Digital
    Assets (as defined in the Debtors’ Terms of Use available at: https://celsius.network/terms-of-use) held therein are custodial assets
    maintained either by the Debtors or by a third-party institution or other entity selected by the Debtors.

4
    The Debtors also maintained an earn program (the “Earn Program”), where users who transfer certain cryptocurrencies to the Debtors earn
    rewards in the form of payment-in-kind interest or CEL Tokens (as defined in the Declaration of Alex Mashinsky, Chief Executive Officer of Celsius
    Network LLC, in Support of Chapter 11 Petitions and First Day Motions [Docket No. 23] (the “First Day Declaration”)) on their assets. See First Day
    Declaration ¶ 47. This statement does not include any collateral held by the Debtors relating to the Celsius “borrow” program as described in
    paragraph 53 of the First Day Declaration, and certain of the members of the Ad Hoc Group of Custodial Account Holders may owe the
    Debtors pursuant to the borrow program.



                                                                          2
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          Name2                              Custody Wallet3                          Earn4

       Karen McLain                             $47,113.64                            $40.37

        Julius Gasso                           $126,088.14                           $767.93

     Ghassan Haddad                             $301,743                              $89.00

       Aaron Stearns                             $38,162                              $0.50

       Ravi Abuvala                             $1,558,813                            $1,162

    Anthony Calderone                           $47,701.43                          $16,714.70

      Rishi Rav Yadav                         $1,484,101.17                        $2,278,538.21

   Frank Malcom Bradley                        $135,071.63                            $0.00

   Edward W Champigny                           $4,000,000                            $1,000

       Ramzi Audeh                              $54,102.30                           $100.80

    Thomas Dean Fikar                          $438,017.56                           $621.23

       Ilene Benator                           $209,987.35                          $7,816.37

      Gilbert Castillo                         $501,277.78                          $19,540.89

    Robert Christiansen                        $320,727.99                         $3,769,521.06

       Adrien Guillo                            $100,600                             $100.00

   Jesus Armando Saenz                          $420,000                            $76,639.99

Lakshmi Sai Lalitha Gurazada                    $54,789.44                            $45.55




                                                    3
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         Name2                                Custody Wallet3                          Earn4

 Santosh Praneeth Banda                          $1,575.51                             $35.00

    Robert K. Butryn                           $2,294,373.02                         $17,258.27

     Christine Lebor                             $79,835.00                            $14.00

     Michael Cifani                              $10,241.72                            $0.00

     Paul Frederick                              $96,349.48                            $0.00

        Joey Tuan                               $270,438.22                          $38,507.36

      Jan Anderson                              $132,960.93                            $0.00

      Marino Reyes                               $2,259.45                             $12.11

     Eduardo Reyes                              $159,304.42                           $517.05

       Peter Juiris                             $596,049.43                         $1,352,749.39

Cherktyek Consulting, LLC                      $1,264,998.99                           $0.00

     Melinda Urbano                              $55,314.53                           $109.49

   Jedidiah A. Salyards                          $26,274.18                            $26.57

    Emil James Kohan                            $579,113.00                          $33,000.00

 Harry B. Richardson Jr.                        $280,384.76                          $2,080.17

       Jason Smith                              $113,953.68                           $992.47

      Calvin Wong                               $320,099.26                           $921.32




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       Name2                               Custody Wallet3                         Earn4

    Jacob Lindsay                             $29,950.00                         $23,959.94

  Andrew Gilmore                              $61,181.00                          $2,557.00

   Scott Schmeizer                            $44,871.00                          $3,107.00

   John Chiakulas                            $224,726.92                         $17,231.47

 Sargam Petra Griffin                         $36,555.76                         $25,601.99

   Michael Singer                             $77,145.00                          $300.00

 Troy A. Giesselman                          $540,970.84                          $998.48

Harold Kevin Montford                        $525,050.03                            $0.00

   Gerrad Brigham                            $399,000.00                         $75,095.96

    Veton Vejseli                            $145,492.69                         $19,980.01

 Laura Dronen Smith                           $16,278.99                           $12.74

  Hsuan Yao Huang                             $61,556.20                           $46.19

  John “Jack” Gibbs                          $186,568.00                         $465,316.00

    Allison Chan                              $18,384.22                            $0.00

  Roshandip Singh                            $165,453.41                           $22.50




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